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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA

RENEE REESE                                                CIVIL ACTION

VERSUS                                                       NO. 18-1982

MARKETRON BROADCAST                                      SECTION “R” (1)
SOLUTIONS, INC.


                              JUDGMENT

     Considering the Court’s order and reasons on file herein,

     IT IS ORDERED, ADJUDGED AND DECREED that plaintiff’s

complaint is DISMISSED.



                                       8th day of May, 2018.
         New Orleans, Louisiana, this _____


                    _____________________
                         SARAH S. VANCE
                  UNITED STATES DISTRICT JUDGE
